Case 1:04-cv-10981-PBS Document 1701-6 Filed 03/06/09 Page 1 of 2
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" Medea! and BRL Tatee Hoa) | Phones beth 375 nmi oot Lauya Sbhrisevt
ea ‘ Bhai Pon fy.
“em Tohn Kratkier
TEM &
(8 PARKE-DAVIS OR,
TO: Medical Liaisons DATE: July 9, 1996
Phil Magistro

CC: NEURONTIN Marketing Team
FROM:Richard Grady vy
Please find listed below pertinent information regarding the NF CBU “movers and shakers” in
regards to the off label use of NEURONTIN. Note this “database” is an evolving one and if you
have any sdditions/deletions plonst foel free to contact me.

One important point first, there have been cases of pharmacists questioning Ras for

>

NEURONTIN if the patient does not have enilepsy To avoid any problems, just tell the |
physician to write on the Rx pad, For pain management, when he/she is Rxing NEURONTIN. <
BOSTON

i. Bruce Ehrenberg, M:D. New England Medical Center, Tufts Medical Schoo!

s Has over 100 paticnts with resticss leg syadrome on NEURONTIN with 90% of those

patients receiving some benefit. Dr. Ebreaberg is the investigator for a restless leg syndrome trial.
Secretary- Lois Phone- (617) 636-7504

2. Ken Gorson, M.D. St. Elizabeth's Medical Center, Tufts Medical Schoo!

* Participating in a single site, placebo controlled NEURONTIN for painful diabetic

neuropathy study.
3. Daniel Carr, M.D. New England Medical Center, Tufts Medical Schoo!
Ancsthesiologist/Pain Management

   

          

Participating in multi-center, post-herpatic peuralgia study.
4. Steven Schachter, M.D. Beth Israsi Medical Center, Harvard Me
f Director of Epilepsy Corder :

EF * —_Deelle 10, over 20% nx share for NEURONTIN, { think we all are aware of Dr.
w Schacter's background,

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